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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA

                    Plaintiff,                                 8:09CR32

      vs.
                                                                ORDER
QUINCY L. MOORE,

                    Defendant.


      This matter is before the court on the defendant’s Motion to Reduce Sentence
Under 2011 Crack Cocaine Guideline Amendment (Filing No. 134), filed on December
12, 2011.   On December 12, 2011, the Federal Public Defender was appointed on
behalf of the defendant, pursuant to General Order 2011-12. As of July 24, 2012, there
has been no filing by the defendant regarding this motion. Upon consideration and for
good cause shown,
      IT IS ORDERED:
      The Federal Public Defender shall file a status report concerning the status of
this motion within 14 days of the date of this order.
      DATED this 24th day of July, 2012

                                                BY THE COURT:
                                                s/ Joseph F. Bataillon
                                                United States District Judge
